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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

 LEWIS ROGERS TODD,
                Plaintiff,
 v.                                                MDL NO. 2592

 JANSSEN RESEARCH &                                SECTION: L
 DEVELOPMENT, LLC f/k/a JOHNSON
 AND JOHNSON PHARMACEUTICAL                        JUDGE: ELDON E. FALLON
 RESEARCH AND DEVELOPMENT LLC,
 et al.,                                           MAG. JUDGE MICHAEL NORTH
                Defendants.
                                                   JURY TRIAL DEMANDED
 This Documents Relates to:
 No. 2:16-cv-14382



                                    PROPOSED ORDER

       IT IS ORDERED that the Motion to Deem Prior Service of Process on Defendant Bayer

Healthcare Pharmaceuticals, Inc. as Valid under Pretrial Order No. 10 filed by the above-listed

Plaintiff is hereby GRANTED.



New Orleans, Louisiana, this        day of             , 2017.




                                      Hon. Eldon E. Fallon
                                      United States District Judge
